      Case 1:14-cr-00078-JRH-BKE Document 94 Filed 12/29/14 Page 1 of 1




                        UNITED STATESDISTRICT COURT
                        SOTITHERNDISTRICT OF GEORGIA
                              AUGUSTA DIVISION




UNITEDSTATESOFAMERICA                          )
                                               )
                                               )            CRr:r4-o78
                                               )
KHILLE D. JACKSON                              )




                ORDER ON MOTION FOR LEAVE OF ABSENCE


      Kirk Emerson Gilliard,      having made application to the Court for a leave of

absence,and it being evident from the application that the provisions of Local Rule 83.9

have been complied with, and no objectionshaving been received;

      IT IS HEREBY ORDERED THAT Kirk Ernerson Gilliard be granted leave

of absencefor the following period: January 29,2or1 through February 2,2or5,
                   rl
      ,ntt ,%,of               zot4.
                         December,




                                        HON
                                        United        DistrictJudge
